SUMMONS IN ACase: 1:18-cv-00009-PAG
            CIVIL ACTION             Doc #: 1-1
                           COURT OF COMMON      Filed:
                                            PLEAS,     01/02/18
                                                   CUYAHO'GA    1 of 17.
                                                              COUNTY     PageID
                                                                      JUSTICE    #: 9
                                                                              CENTER
                                                                                               CLEyELAND,OHIO 94113
                CASE NO;                                    SUMMONS NQ.
               CV17889816              D1 FX                 33'948195                                          Rule4(B)Ohio
      _                        _             _          _      _ _                       _.                                    _          __
                                                                                                              Rutes ofCivil
                                                                                                              Procedure
                               CASSANDRA PAYNE                       PLAINTIFF
                                    ~S                                                                       su~oNs
               WATERSTON& PROPERTIES LLCy, ET AL                     DEFENDANT




          WATERS2`ONE PROPERTIES LLC                                                 You have been named defendant 3n a sums
          DBA WATERS:TQNE PROPERTY MANAGEMENT                                      complaint(copy attached hereto).filed i~ Cuyahoga
          14077 CEDAR ROAD #20.4                                                   County Coyrt of Common Pleas, Cuyahoga County
          CLEVELAND OH 44118                                                       Justice Center, Cleveland, Okio 44113, by the
                                                                                   plainfiff named herein.

                                                                                     You are hereby summoned and required to answer
                                                                                   the complaint:within 28 days'after service of this
                    Said answer is:required to be served on:                       summons upon you,exclusive ofthe day of service.

                                                                                     Said ansvrer is required to be served on Plaintift'!s
          Plantlf'fs AUorney                                                        Attorney(Address denoted by arrow at left.)

          BRl~DLEY LEVINE                                                            Your answer must also be filed with the court
          8401 CHAGRIN ROAD              SUITE 8                                    within 3 days:after service of said answer on
                                                                                    plaintiff's attorney.
          CHACsRIN FALLS, OH 44.03-OUOQ
                                                                                     Ifyou fail to do so,judgmentby default will be
                                                                                    rendered againstyou for the relief demanded in the
                                                                                    complaint.

                   Case has-been assigned to ,Mudge:

      :JOHN P O'DONNELL
          Do-not contactjudge. Judge's name is given.for
          attorney's reference only

                                                                             NAILAH K. BYRD
                                                                          4]erkbfthie Court ofCommon Pleas

                 DATE SENT
            DeC 4, 2017                            BY
                                                                      DePutY


              CO1vIPLAINT FILED       il/3Oj2017




CMSN130


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                                  IN THE COURT OF COMMON PLEAS
                                      CUYAHOGA COUNTY,OHIO

   CASSANDRA PAYNE                                          Civil Action No.
   8305 Connecticut Avenue
   Cleveland, OH 44105                                      Judge

                   Plaintiff,

            v.

    WATERSTONE PROPERTIES LLC                               COMPLAINT FOR DISABILITY
    d/b/a Waterstone Froperty Management                    DISCRIMINATION,RACE
    14077 Cedar Road #204                                   DISCRIMINATION,HOSTILE WORK
    Cleveland, OH 44118                                     ENVIRONMENT,WRONGFUL
                                                            DISCHARGE,NEGLIGENT HIRING,
            and                                             TRAINING,RETENTION &
                                                            SUPERVISION,RETALIATION,
    CATHERINE WASSERSTEIN                                   UNJUST ENRICHMENT,UNPAID
    14100 Cedar Road #309                                   MINIMUM WAGES,UNPAID
    Cleveland, OH 44121                                     OVERTIME WAGES,AIDING &
                                                            ABETTING,AND FAILURE TO
            and                                             PROVIDE REQUESTED RECORDS

    NED WASSERSTEIN
    14100 Cedar Road #309
    Cleveland, OH 44121

          ,and

    ABBY REEL
    14100 Cedar Road #309
    Cleveland, OH 44121

                    Defendants.
                                                            .TiJRY DEMAND ENDORSED HEREON

            Plaintiff Cassandra Payne ("Plaintiff') alleges as follows for her Complaint against

    Defendants Waterstone Properties LLC, Catherine Wasserstein, Ned Wasserstein, and Abby Reel

   (collectively "Defendants"):




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                    1. Plaintiff worked for Defendants in Cuyahoga County, Ohio.

                    2. Plaintiff isAfrican-American.

                    3. Defendant Waterstone Properties LLC.("Waterstone") is an Ohio corporation,

        doing business in Cuyahoga County, Ohio.

                    4. Waterstone's revenues exceed $500,000 per year.

                    5. Waterstone is an enterprise engaging in interstate commerce.

                    6. Defendant Catherine Wasserstein is a co-owner of Waterstone.

                    7. Catherine Wasserstein is Caucasian.

                    8. Defendant Ned Wasserstein is a co-owner of Waterstone.

                    9. Ned Wasserstein is Caucasian.

                    10. Defendant Abby Reel("Reel")is a Froperty Manager.

                    11. Reel is Caucasian.

                    12. Defendants were an employer of Plaintiff.

                    13. Defendants employed Plaintiff as a Building Maintenance Technician from

        January 25, 2017 until her termination on June 6,2017.

                    14. This Court has subject matter and personal j~xrisdiction over the claims raised

        in this Complaint.

                    15. Venue is proper in Cuyahoga County, Ohia

                    16. Plaintiff has suffered damages in excess of$50,000.

                    17. Plaintiff has hired the undersigned counsel and has agreed to pay them

        reasonably attorney's fees and costs of they are successful'on one or more of the claims set

        forth herein.


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                    18. Plaintiff consents to become a party plaintiff in this action and has attached

        her written consent hereto as E~ibit A.

                    A.      DEFENDANTS DISCRIMINATE AGAINST PLAINTIFF BECAUSE
                            OF HER DISABILITIES AND HER RACE

                    19.On June 1, 2017,Plaintiff injured her back at work.

                    20. Plaintiff reported her workplace injury to Reel and requested an incident

        report to file for workers'compensation benefits.

                    21. Reel never provided an incident report to Plaintiff.

                    22. Plaintiff was physically disabled by her back injury.

                    23. Plaintiff was physically disabled by high blood pressure.

                    24. Plaintiff's physical impairments substantially limited one or more of her major

        life activities, including but not limited to, operation of a major bodily function if no

        medication or medical treatment was received.

                    2S. Defendants were aware ofPlaintiff's disabilities.

                    26. Plaintiff has a record of physical impairments.

                    27. Defendants regarded Plaintiff as having physical impairments.

                    28. Plaintiffwas qualified for her job as a Building Maintenance Technician.

                    29. The essential functions of Plaintiff's job as a Building Maintenance

        Technician included, but were not limited to, repairing Waterstone's properties.

                    30. Plaintiff could perform the essential functions of her job as a Building

        Maintenance Technician with a reasonable accommodation for her high blood pressure and

        without a reasonable accommodation for her back injury.



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                    31. During Flaintiff's first week of employment, she requested as a reasonable

        accommodation for her high blood pressure to take a modified meal break towards the end of

        her shift. Plaintiff explained to Reel that her disability required her to take a prescription

        medication with food so that her body could metabolize the medication. Plaintiff further

        explained to Reel that the side effects of Plaintiff's medication caused her to experience

        dizziness, nausea, and fatigue, and the reason Plaintiff requested a modified meal break was

        to ensure that Plaintiff would not suffer any debilitating side effects on the job that could

        endanger Plaintiffwhile she engaged in physical labor.

                    32. Reel refused to reasonably accommodate Plaintiff's high blood pressure with

        a modified meal break.

                    33. Defendants did not provide Plaintiff with any accommodation for her high

        blood pressure.

                    34. Reel discriminated against Plaintiff because of her African-American race.

                    35. Reel frequently referred to Plaintiff as "ghetto."

                    36. Reel forced Plaintiff to perform degrading tasks that were designed to

        humiliate, intimidate and harass Plaintiff on the basis of her African-American race,

        including but not limited to forcing Plaintiff to clean the toilet of Reel's boyfriend.

                    37.On a daily basis, Plaintiff met with Abe Gibson {"Gibson"), Building

        Maintenance Technician, and Aeric Harrison, Building Maintenance Technician, to discuss

        Reel discriminating against African-American employees.

                    38. Gibson and Harrison are African-American.




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                    39. Gibson and Harrison encouraged Plaintiff to raise the issue of race

        discrimination, among several other problematic workplace conditions, at a staff meeting

        scheduled far June 2, 2017.

                   40. On June 2, 2017, Catherine Wasserstein held• a staff meeting that included:(1)

        Plaintiff,(2)Reel,(3)Gibson,(4)Harrison,(5)Alycia Drabish,(6)Stacey, and(7)Paige.

                    41. Plaintiff complained during the staff meeting that Reel was discriminating

        against African-Americans. As an example, Plaintiff described how Reel had been forcing

        Plaintiff to perform degrading tasks for Reel's boyfriend who lived at one of Waterstone's

        properties. Plaintiff also complained that Reel unfairly disciplined Plaintiff for allegedly

        being "ghetto" in the performance of her work duties.

                    42. Plaintiff begged Catherine Wasserstein to discipline Reel for violating

        Waterstone's policies and procedures that prohibit sexual relations with a resident and for

        engaging in race discrimination.

                    43. Catherine Wasserstein refused to discipline Reel for violating Waterstone's

        policies and procedures and for engaging in race discrimination.            Catherine Wasserstein

        yelled at Plaintiff,"I don't give a shit! Do your fucking job!"

                    44. Plaintiff cried during the staff meeting when she realized that Catherine

        Wasserstein would do nothing to protect her or her African-American coworkers from race

        discrimination.

                    45. Plaintiff slumped forward in her chair during the staff meeting and cringed

        due to the pain caused by her back injury.




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                    46. During the staff meeting, Plaintiff requested to take off work on June 6, 2017

        to see a doctor.

                    47. Catherine Wasserstein approved Plaintifftaking off work on June 6,2017.

                    48. Plaintifftook offwork on June 6,2017 for a doctor's appointment.

                    49. On June 6, 2017, Ned Wasserstein text messaged Plaintiff, "Cassandra based

        on the Friday staff meeting incident combined with taking a non approved day off on the

        week you were on call and today no show, and inability to work with [Reel] —there is no

        reason for you to come back to work. I wish you luck —but what you did on Friday cannot

        be undone."

                    50. Defendants' purported reason for terminating Plaintiffis a mere pretext.

                    51. Defendants terminated Plaintiff in retaliation for her complaint about race

        discrimination, because of her African-American race, because of her disabilities, and

        because Plaintiff intended to file for workers' compensation benefits.

                    B.       DEFENDANTS'WAGE AND HOUR VIOLATIONS

                    52. Plaintiff took no more than two meal break's per week for each week of her

        employment.

                     53. Plaintiff took no more than two meal breaks per week because Defendant

        refused to reasonably accommodate Plaintiff with a modr~ied meal break so that Plaintiff

        could take her prescription medication with food towards the end of her shift.

                     54. Without a modified meal break, Plaintiff had no choice but to work through at

        least three of her meal breaks each week so that she could take her prescription medication

        with her dinner after work.                                        .


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                   55.On a daily basis, Plaintiff engaged in substantial duties while she worked

       through her meal breaks by fixing Defendants' properties.

                   56. Despite the hours that Plaintiff worked through her meal breaks, Defendant

       automatically deducted thirty minutes from her time sheets.

                    57. Defendant knew that Plaintiff worked through her meal breaks, because (a)

       Plaintiff told Reel that Plaintiff would have to save her medication to take with dinner instead

       of stopping to eat at work since Defendants had refused to reasonably accommodate

       Plaintiff's high blood pressure,(b)Plaintiff text messaged Reel that she would not stop to eat

        at work,and(c)Plaintiff did not put on her time sheets that s' he had taken meal breaks.

                    58. Plaintiff worked overtime each week of her employment, but Defendants only

        paid Plaintiff straight time instead of time and a half for the hours that Plaintiff worked over

       forty hours per week.

                    59. During the months of March, April, May and June 2017, Plaintiff completed

        at least twelve hours of"on call services." "On call services" is Defendants' denotation for

        emergency maintenance assignments.

                    60. Defendants failed to pay Flaintiff any compensation whatsoever for her

        minimum oftwelve hours of"on call services."

                    61. Defendants failed to prevent Plaintiff from working through her meal breaks,

        or to pay Plaintiff her correct wages for the hours that she worked aver forty hours each

        week, or to pay Plaintiff anything for her "on call services."




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                                             COUNTI
                                    DISABILITY DISCRIMINATION

                   62. Plaintiffre-alleges each allegation set forth in paragraphs 1 to 61 above.

                   63. In violation of Ohio Revised Code Sections 4112.02 and 4112.99, Defendants

       discriminated against Plaintiff because of her disabilities,. because of her record of being

        disabled, or because of perceived disabilities.

                    64. Plaintiff was qualified for her job.

                    65. Plaintiff could perform the essential functions 'of her job with a reasonable

        accommodation for her high blood-pressure and without a reasonable accommodation for her

        back injury.

                    66. Plaintiff suffered adverse employment actions when Defendants refused to

        reasonably accommodate Plaintiff's high blood-pressure and terminated Plaintiff because of

        her disabilities, because of her record of being disabled, and because of Defendants regarding

        Plaintiff as disabled.

                    67. Plaintiff has been damaged by Defendants' disability discrimination.

                    68. Defendants' conduct is the cause of Plaintiff's damages.

                    69. Defendants acted with actual malice, entitling Plaintiff to punitive damages

        and her attorney's fees and costs.

                                      COUNT II
                   RACE DISCRIMINATION/HOSTILE WORK ENVIRONMENT

                    70. Plaintiffre-alleges each allegation set forth in paragraphs 1 to 69 above.




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                     71. In violation of Ohio Revised Code Sections 4112.02 and 4112.99, Defendants

         discriminated against Plaintiff because of her African-American race by subjecting Plaintiff

         to a racially hostile work environment and terminating her employment.

                     72. Plaintiff is a member of a protected class.

                     73. Plaintiff was qualified for her job.

                     74. Plaintiff sui~ered adverse employment actions when Defendants subjected

         Plaintiff to a racially hostile work environment and terminated her because of her African-

         American race.

                     75. Defendants created a racially hostile work environment by engaging in severe

         and pervasive conduct that altered the terms conditions of Plaintiff's employment.

                     76. Plaintiff has been damaged by Defendants' race discrimination and racially

         hostile work environment.

                     77. Defendants'conduct is the cause of Plaintiff's damages.

                     78. Defendants acted with actual malice, entitling Plaintiff to punitive damages

         and her attorney's fees and costs.

                                              COUNT III
                                         WRONGFUL DISCHARGE

                     79. Plaintiffre-alleges each allegation set forth.in paragraphs 1 to 78 above.

                     80. A clear public policy prohibiting retaliation against an employee who seeks

         workers' compensation benefits exists in Ohio Revised Code Sections 4123.01 and 4123.90.

                     81. Permitting Plaintiff's termination places in jeopardy clear public policies set

         forth in Ohio Revised Code Sections 4123.01 and 4123.90.



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                     82. Defendants lacked an overriding business justification for the discharge of

        Plaintiff.

                     83. Plaintiff has been damaged by Defendants' wrongful discharge.

                     84. Defendants' wrongful discharge is the cause of Plaintiff's damages.

                     85. Defendants acted with actual malice, entitling Plaintiff to punitive damages

        and her attorney's fees and costs.

                                   COUNT IV
             NEGLIGENT HIRING,TRAINING,RETENTION,AND SUPERVISION

                     86. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 85 above.

                     87. Waterstone had a duty to use due care in hiring, training, retaining, and

        supervising Reel.

                     88. Waterstane breached its duty to use due care in hiring, training, retaining, and

        supervising Reel.

                     89. Plaintiff has been damaged by Waterstone's failure to use due care.

                     90. Waterstone's conduct is the cause of Plaintiff.'s damages.

                                                  COUNT V
                                                RETALIATION

                     91. Plaintiffre-allege each allegation set forth in paragraphs 1 to 90 above.

                     92. Plaintiff brings this action under Ohio Revised Code Sections 4112.02(I) and

        4112.99.

                     93. Plaintiff orally opposed and complained about Defendants' unlawful

        employment practices.




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                    94. Plaintiff had a reasonable belief that Defendants were engaging in unlawful

        employment practices.

                    95. Defendants retaliated against Plaintiff by terminating her ernployxnent.

                    96. Plaintiff's opposition and complaints about Defendants' unlawful

        employment practices caused Defendants to ternunate Plaintiff.

                    97. Defendants had no legitimate business justification for terminating Plaintiff.

                    98. Plaintiff have been damaged by Defendants' retaliation.

                    99. Defendants'conduct is the cause ofPlaintiff's damages.

                    100. Defendants acted with actual malice, entitling Plaintiff to punitive damages

        and her attorney's fees and costs.

                                              COUNT VI
                                         UNJUST ENRICHMENT

                    101. Plaintiff re-alleges each allegation set forth ~n paragraphs 1 to 100 above.

                    102. Plaintiff conveyed a benefit upon Defendants, and gave the benefit with

        Defendants'knowledge, by working through at least three meal breaks per week without pay,

        by working overtime hours in exchange for straight pay instead of time and a half, and by

        providing at least twelve hours of"on call services" without pay.

                    103. Defendant's automatic deduction of Plaintiff's meal breaks, paying Plaintiff

        only straight time for her overtime hours, and not paying Plaintiff anything for at least twelve

        hours of"on call services" is unjust under the circumstances.

                    104. Plaintiff has been damaged by Defendants'unjust enrichment.




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                                              COUNT VII
                                        UNPAID MINIMUM WAGES

                     105. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 104 above.

                     106. Defendants have violated Section 34a, Article II, of the Ohio Constitution,

        Ohio Revised Code Section 4111.14 and the Fair Labor Standards Act by not paying Plaintiff

        her minimum wage.

                     107. Defendants' conduct with regard to not paying minimum wage was willful.

                     108. Plaintiff has been damaged by Defendants'nonpayment of minimum wage.

                     109. In addition to being entitled to her unpaid back wages, Plaintiff is entitled to

        two times those back wages as liquidated damages pursuant to Section 34a ofArticle II of the

        Ohio Constitution and Ohio Revised Code Section 4111.14(J)(or in the alternative one times

        those back wages as liquidated damages pursuant to the Fair Labor Standards Act).

                     110. Defendants are liable for Plaintiff's costs and reasonable attorney's fees

        pursuant to Section 34(a) of Article II of the Ohio Constitution, and the Fair Labor Standards

        Act.

                                                COUNT VIII
                                             UNPAID OVERTIME

                     111. Plaintiffre-alleges each allegation set forth in paragraphs 1 to 110 above.

                     112. Defendants have violated Ohio Revised Code Sections 4111.03 and 4111.10

        and the Fair Labor Standards Act by not paying Plaintiff overtime wages for hours worked

        more than 40 in a week.

                     113. Defendants' conduct with regard to not paying overtime to Plaintiff was

        willful.


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                    114. Flaintiff has been damaged by Defendants'nonpayment of overtime wages.

                    115. Plaintiff is entitled to liquidated damages of one times overtime not paid

        pursuant to the Fair Labor Standards Act.

                    116. Defendants are liable for Plaintiff's costs and reasonable attorney's fees

        pursuant to Ohio Revised Code Section 4111.10 and the Fair Labor Standards Act.

                                                  COUNT IX
                                             AIDING AND ABETTING

                    117.Plaintiffre-alleges each allegation set'forth in paragraphs 1 to 116 above.

                    118.Plaintiff brings this action under Ohio Revised Code Sections 4112.02(J) and

        4112.99

                    119.Defendants have aided in disability discrixriination, race discrimination, and

        in creating a hostile work environment for Plaintiff.

                    120.Defendants have abetted in disability discrimination, race discrimination, and

        in creating a hostile work environment for Plaintiff.

                    121.Plaintiff has been damaged by Defendants' aiding or abetting.

                    122.Defendants'conduct is the cause ofPlaintiff's damages.

                    123.Defendants acted with actual malice, entitling Plaintiff to punitive damages

        and her attorney's fees and costs.

                                         COUNT X
                          FAILURE TO PROVIDE REQUESTED RECORDS

                    124. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 123 above.




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                     125. On August 8, 2017, a person acting on behalf of Plaintiff sent a request to

        Waterstone for documents and records required to be kept and produced pursuant to Ohio

        Revised Code Section 4111.14(F)-(G).

                     126. Waterstone received the request for documents and records regarding

        Plaintiff that are required to be kept and produced pursuant to Ohio Revised Code Section

        4111.14(F)-(G).

                     127. Watesrtone did not produce any documents or records in response to the

        request.

                     128. Plaintiff may bring this action pursuant to Ohio Revised Code

        Section 4111.14(K).

                     129. Waterstone is liable for the costs and reasonable attorney's fees of Plaintiff

        pursuant to Section 34(a) ofArticle II ofthe Ohio Constitution.

            WHEREFORE, Plaintiff demands judgment against .Defendants for her lost wages,

    reinstatement or front pay, lost fringe benefits, unpaid minimum wage and overtime, liquidated

    damages, statutory damages, emotional distress, and any other compensatory damages, punitive

    damages, prejudgment interest at the statutory rate, interest on unpaid wages pursuant to Ohio

    Revised Code 4113.15, postjudgment interest, attorney's fees, and costs, and all other relief to

    which she is entitled.

            JTJRY TRIAL DEMANDED.




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                                                              Respectfully submitted,

                                                               /Brad Levine
                                                              Stephan I. Voudris, Esq.
                                                              Supreme Court No. OOS5795
                                                              Brad Levine,Esq.
                                                              Supreme Court No.0090286
                                                              Voudris Law LLC
                                                              8401 Chagrin Road, Suite 8
                                                              Chagrin Falls, OH 44023
                                                              svoudris@voudrislaw.com
                                                              blevine@voudrislaw.com
                                                              440-543-0670
                                                              440-543-0721 (fax)
                                                              Counselfor Plaintiff




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           Cassandra Payne agrees and consents fo become a party plaintiffin this lawsuit.




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                                                                                        EXHYBIT A




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